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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           No. Cr. F 11-cr-354 LJO

12                      Plaintiff,                       STATUS MEMO AND STIPULATED
                                                         REQUEST TO CONTINUE TO HOLD IN
13           v.                                          ABEYANCE DEFENDANT’S MOTION
                                                         TO REDUCE SENTENCE PURSUANT
14   FELIPE GUTIERREZ,                                   TO 18 U.S.C.§ 3582(c)(2)

15                      Defendant.                       Hon. Lawrence J. O’Neill

16
             On May 5, 2015, Defendant, FELIPE GUTIERREZ, filed a pro se motion to reduce his
17
     sentence pursuant to 18 U.S.C. § 3582(c)(2). CR 583. Pursuant to a stipulated briefing schedule,
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     Defense memorandum in support of Mr. Gutierrez’ motion to reduce was due August 7, 2015.
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     CR 599, 606.
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             On August 11, 2015, this Court granted the parties’ stipulated request to hold in abeyance
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     defendant’s motion to reduce sentence, to allow for the resolution of the petition for en banc
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     review in U.S. v. Davis, 776 F.3d 1088 (9th Cir. 2015). CR 611. As stated in that stipulation,
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     resolution of Davis will allow the parties and this Court to ascertain the law to be applied to Mr.
24
     Gutierrez’ motion for a sentence reduction.
25
     ///
26
     ///
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     ///
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     Status Memo
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 1
             The Ninth Circuit granted en banc review of Davis on August 6, 2015, and heard oral
 2
     argument on September 10, 2015, but has not yet issued a ruling. Therefore, the parties
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     respectfully stipulate and respectfully request that this Court continue to hold in abeyance
 4
     defendant’s motion to reduce sentence, and set a due date for status memo for March 7, 2016.
 5
     Dated: December 4, 2015                               Dated: December 4, 2015
 6
     BENJAMIN B. WAGNER                                    HEATHER E. WILLIAMS
 7   United States Attorney                                Federal Defender

 8
     /s/_Kathleen A. Servatius___                          /s/ Hannah R. Labaree
 9   KATHLEEN A. SERVATIUS                                 HANNAH R. LABAREE
     Assistant U.S. Attorney                               Assistant Federal Defender
10
     Attorney for Plaintiff                                Attorney for Movant
11   UNITED STATES OF AMERICA                              FELIPE GUTIERREZ

12
                                                  ORDER
13
             Pursuant to the parties’ stipulation, and good cause appearing therefor, a status memo on
14
     Mr. Gutierrez’ motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) is due March 7,
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     2016.
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     IT IS SO ORDERED.
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18       Dated:    December 7, 2015                          /s/ Lawrence J. O’Neill
                                                          UNITED STATES DISTRICT JUDGE
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     Status Memo                                      2
